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EXHIBIT 4
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WHITESTONE LEGAL GROUP AFFIDAVIT OF COMPLIANCE
Affidavit of Compliance

\, TATA LAO ls representative affiliated with and ‘under contract to Whitestone Legal Group, The
Sands Law Group, LLP, in my role az a Member, Partner, Employee or Independent Contractor of Whitestone, confirm that Ihave conducted
a persgnal and face-to-face presentation with Da gan ae ee (Client's Full Legal Name) to review
Client's file and present all relevant information regarding Whitestone's representation of Client, an it relates to Wiiitestone’s Client Retainer
Agreement to provide legal representation on behalf of Client, including debt, resolution and financial workout services. [ confirm that
Client has executed the Client Retainer Agreement on this date and such execution has taken place in my presence following my in-person
meeting with Client. This Affidavit of Compliance cstablishes a written record to verify compliance with any and all applicable local, state
or federal Jaws or cegulations (collectively the “Applicable Laws"), including, but not limited, to the Telemarketing and Consumer Fraud
and Abuse Prevention Act, 1g U.S.C, 6101-08, and the Telernarketing Sales Rule, as amended, 16 C.K.R. Part 310; 75 Fed. Reg. 48458, 48522,

The following subjects were reviewed with Client in writing and, where appropriate, orally or in response to questions regarding such

representation:

1) That debt resolution which alters the terms of payment of unsecured debt might have a negative effect on Client's credit and that
Whitestone does not clean up, fix, or repate credit. The program may also result in Cllent being subject to collections or sued by
creditors or debt collectors and may increase the amount of money the customer owes due to the accrual of fees and interest.

2) That the scope of Whitestone’s representation of Client Is specifically limited to the following:

8. Determine which specific debt resolution option is most appropriate for Client, including an initial review of their budget,
income and debt;

b. Review Client’s current unsecured debt burden and thereafter negotiate and attempt 10 negotiate settlements with Client's
creditarain an effort ta modify or restructure Client's current unsecured debt;

c. Provide litigation defense as outlined in the Letter of Engagement.

3} A full cevigw of all feeu and coats associated with ther niation of the Client.

That Whitestone malniaina a Performance Guarantee for each individual account entered by Client into the Whitestone debt resolution
, of a minimum of setthement debt reduction of thirty-five percent (35%) of the debt's face value at the time of settlement, including
terest, penalties, cost and late fees, an outlined further in the Texma and Canditions of te Engagement Letter. In the event that

Whitestone does not meet this minimum standard for a particular account; it. shall refund the pro rata share of all fees and cone paid

io Whitestone for such work and Whitestone shall settle that individual account for Cent at no additional cort. Exceptions to the

iminium Performance Standard include: client skipping or defaulting on plan and/or settlement payments, Client's failure to aceept

a proposed settlement of at leant a thirty-five percent (35%) reduction of'an enrolled debt, any enrolled debts that become subject to a

lawauit during representation, any debte with a balance transfer or eash advance within sit months of enrollment, any debts with a

halance of less then 61,000 at the of this Agreement’s execution, any debts with a credit union and any debt being garnished or subject

to voluntary garnishment.

5) Client has been advised that the attorney or paralegal who conducted the initial meeting with Client limits their senpe of representation
or presentation to that initial meeting and review of the Client's file. The Client was made aware that the actual supervising atlorncy
for their file may be a different attorney of the law firm whois licensed in their state.

B) A full review of the arbitration provision, including the fact that, by electing to go to arbitration, both parties are waiving certain rights,
including the right to a trial in a court oflaw.

7) Client has been advised of and given an opportunity to review Whitestone’s Privacy Policy.

Names of all attendeco;

stant Timer 400 PR Rnd Timer 4-38

Location of Meeting; z pe sei)

Have any materials been provided or presented to the attendees in addi Enrollment Documents, the Face to Face Script, and the
Face to Face Power Point Presentationf, io YES (Cle

if so, indicate here and scan/upload all such additional documents or materials:

L affirms the above statements are true and accurate.

Executed on this Date: §-} tp v

Representative on behalf of Whitestone:

Name: hot \L Leer
Signature;

| affirm the above statements are true and accurate.

Client Name:_, ___ Signature: aaa

